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                EXHIBIT 6
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                                                 PageID 4625

Stephen Weil

From:                           McMullen, Bruce <bmcmullen@bakerdonelson.com>
Sent:                           Monday, February 24, 2025 2:41 PM
To:                             Stephen Weil; Silk, Jennie; McKinney, Kelsey; Sarah Raisch; Joshua Levin; Antonio
                                Romanucci
Cc:                             Alexis Johnson; Betsy McKinney; Florence Johnson; Brooke Cluse; cgrice; Clyde W.
                                Keenan; Darrell J. O'Neal; David Louis Mendelson I; Deborah Godwin;
                                ge@perrygriffin.com; Jarrett Michael Dean Spence; John Keith Perry Jr.; Laura Elizabeth
                                Smittick; lgross@perrygriffin.com; Martin Zummach; Mary Collins; mistie@sparkman-
                                zummach.com; Robert Spence; Terri Norman; Reagan, Ian
Subject:                        RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence




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Steve—see below in red.

Bruce A. McMullen

Shareholder
Direct Dial: 901.577.2356


        From: Stephen Weil <SWeil@rblaw.net>
        Sent: Monday, February 24, 2025 2:16 PM
        To: McMullen, Bruce <bmcmullen@bakerdonelson.com>; Silk, Jennie <jsilk@bakerdonelson.com>; McKinney,
        Kelsey <kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin
        <JLevin@rblaw.net>; Antonio Romanucci <aromanucci@rblaw.net>
        Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence Johnson
        <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>; cgrice
        <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
        <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>; Deborah Godwin
        <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett Michael Dean Spence
        <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick
        <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach <martin@sparkman-zummach.com>;
        Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
        <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
        <ireagan@bakerdonelson.com>
        Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence

        BruceSteve,

        It sounds as though you are agreeable to getting the Court involved in discovery. Wrong.

        We plan to ask the Court for the following: a scheduled bi-weekly hearing (i.e., once every other
        week) for the Court to address discovery and case-management disputes that the parties have
        not been able to resolve themselves. The parties would transmit an agenda of items a few days in


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advance (e.g. 48 hours) to prepare the Court for any disputes (or, if there are no disputes for the
week, the agenda would so notify the Court and the hearing would be cancelled).

Can we represent that this request would be unopposed? Better yet, can we propose the hearings
in a joint motion? No and no.

We anticipate filing a motion with the Court by tomorrow afternoon, so please let us know by
12:00 p.m. tomorrow.

OTHER DEFENSE COUNSEL: we anticipate that the hearings proposed above would deal
primarily with the Monell components of this case, but we ask that you please weigh in by 12:00
tomorrow as well.

At this point, given Bruce’s position, we are going to consider ourselves at issue with respect to
RFP 133 and a raft of additional discovery for which we have sought Rule 37 conferences with the
City. Sure.

Best regards,

Steve

Stephen H. Weil                                     e: sweil@rblaw.net
Senior Attorney                                     p: (312) 253-8592
                                                    f: (312) 458-1004
                                                    a: 321 N Clark St, Ste
                                                    900, Chicago, IL 60654



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From: McMullen, Bruce <bmcmullen@bakerdonelson.com>
Sent: Monday, February 24, 2025 1:03 PM
To: Stephen Weil <SWeil@rblaw.net>; Silk, Jennie <jsilk@bakerdonelson.com>; McKinney, Kelsey
<kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin <JLevin@rblaw.net>;
Antonio Romanucci <aromanucci@rblaw.net>
Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence Johnson
<fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>; cgrice
<cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
<domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>; Deborah Godwin
<DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett Michael Dean Spence

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                                         PageID 4627
<jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick
<support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach <martin@sparkman-zummach.com>;
Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
<rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
<ireagan@bakerdonelson.com>
Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence




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safe.



Steve,

Our Rule 37 conferences have been primarily your team trying to explain to us why we need to do
everything you want us to do. There is no spirit of compromise. In the hours of telephone
conferences we have had, we have never reached a compromise on anything because, in part,
you refuse to budge on anything. We are more productive conferring via email, as evidenced by
the fact that you agree in principle to the production of the digital ISB files in lieu of the full copy of
the paper and media files.

I don’t understand your threat to get the court involved since you already got the court involved by
way of your filing the “unopposed” motion for leave to reply later on Friday night. Please further
note that I am not threatened by the prospect of the court being involved. At this point in the
litigation, the Court has seen enough with respect to the documents under seal to weigh the
credibility of your actions and your filings.

Additionally, I take offense to your claim in a recent filing that anyone on my team was “woefully
unprepared” for a Rule 37 conference. I think you mistook preparedness for acquiescence.

Regarding the technical question about the ISB files, we have always had portions of the ISB files
stored digitally. We have produced literally dozens of the digital portions of the ISB Case files to
you already in pdf format, minus the paper documents and media. We have had multiple
conversations about this with your co-counsel. As written, the requests at issue seek the entire
files, and the burden arises from producing the entire file, including copies of the media. We
outlined this months ago.

It seems like you are again asking for us to produce the databases we have already declined to
produce. We stand on our objection to producing the databases that we produced to the DOJ. You
do not have the statutory mandate that the DOJ has to investigate a law enforcement agency, and
just because we produced our entire records management system to the DOJ does not mean you
are entitled to it. That is a fishing expedition. If there is something in particular that you feel is
responsive in a relational database that uses SQL, please send a request for that and we will
respond accordingly.

We stand ready to start producing the PDFs of the hundreds of additional ISB files you requested.
Sorry I missed your noon deadline.

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                                        PageID 4628

Bruce A. McMullen

Shareholder
Direct Dial: 901.577.2356


        From: Stephen Weil <SWeil@rblaw.net>
        Sent: Friday, February 21, 2025 5:51 PM
        To: Silk, Jennie <jsilk@bakerdonelson.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>;
        McKinney, Kelsey <kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin
        <JLevin@rblaw.net>; Antonio Romanucci <aromanucci@rblaw.net>
        Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence
        Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>; cgrice
        <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
        <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>; Deborah
        Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett Michael Dean Spence
        <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth
        Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach <martin@sparkman-
        zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert
        Spence <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
        <ireagan@bakerdonelson.com>
        Subject: Re: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence

        Jennie,

        Your proposal to do away with telephonic conferences is unacceptable. It is contrary to LR
        7.2. And you are incorrect that the conferences are unproductive. Our conferences have
        often revealed information, and allowed the parties to engage in last-resort attempts at
        compromise before confirming that they are at issue and require assistance from the
        Court.

        There is no substitute for conferences to address discovery disputes efficiently and
        effectively, particularly as we deal with the complex ESI discovery that is currently
        outstanding. “Conferring” via email simply invites delay. This email chain is a case in
        point: you wrote Wednesday that you would follow up "tomorrow" (i.e., yesterday), yet we
        heard nothing from you on the core issues we have asked to discuss via Rule 37
        conference—only ancillary ones. Avoiding telephonic conferences permits Memphis to
        engage with our discovery enforcement at a time of its choosing, and that has already led
        to months of delay.

        If you object to conferences because you believe they are too contentious, we can record
        them. That is easy to do using the record feature on Zoom. I have seen that done in other
        cases and it tends to resolve accusations of acrimony.

        If you are going to stand on your refusal to participate in telephonic Rule 37 conferences,
        we believe it is time to get the Court actively involved in supervising discovery. Please let
        us know by 12:00 pm Monday whether you are going to stand on your refusal to hold
        conferences. We cannot continue experiencing the delay after delay that is stalling this
        discovery and prejudicing Plaintiff.

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   Regarding your offer to produce electronic ISB files rather than insist we inspect paper
   documents, we do not understand why it is only now that you are revealing the existence of
   responsive ESI after insisting for months on burdensome inspection of paper ISB files
   (which you seem to indicate are different papers altogether). We believe your proposal is
   agreeable in principle—but there are a number of details that need to be worked out. In
   particular, our understanding is that the ESI you now propose to produce is embedded in a
   relational database that uses SQL, like much of the ESI you provided to DOJ. Deciding how
   to identify and produce that information will require further discussion—and we cannot
   see how such a discussion can occur in a timely or productive manner using only back-
   and-forth emails.

   We are open for a call much of Monday and Tuesday. There is a large volume of
   outstanding discovery that we need to get moving and which we need to discuss. Let’s
   please set up a call.

   Best regards,

   Steve




   Stephen H. Weil                                      e: sweil@rblaw.net
   Senior Attorney                                      p: (312) 253-8592

                                                        f: (312) 458-1004
                                                        a: 321 N Clark St, Ste
                                                        900, Chicago, IL 60654


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                                      PageID 4630




   From: Silk, Jennie <jsilk@bakerdonelson.com>
   Sent: Wednesday, February 19, 2025 7:36 PM
   To: Stephen Weil <SWeil@rblaw.net>; McMullen, Bruce <bmcmullen@bakerdonelson.com>; McKinney,
   Kelsey <kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin
   <JLevin@rblaw.net>; Antonio Romanucci <aromanucci@rblaw.net>
   Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence
   Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>; cgrice
   <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
   <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>; Deborah
   Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com <ge@perrygriffin.com>; Jarrett Michael Dean
   Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
   Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com <lgross@perrygriffin.com>;
   Martin Zummach <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>;
   mistie@sparkman-zummach.com <mistie@sparkman-zummach.com>; Robert Spence
   <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
   <ireagan@bakerdonelson.com>
   Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence




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   content is safe.



   Steve,

   We are actively working through the various issues that you have raised regarding our discovery
   responses and document requests. To begin, we do not think it would be productive to schedule
   another Rule 37 conference via Teams or via phone. We have never been able to reach an
   agreement on anything in any of our prior conferences, and it seems unlikely that we will be able to
   do so now. The conferences are unproductive and contentious, to say the least. We think the best
   path forward is to consult via email.

   To that end, I am responding to one of the issues you raised in your email of February 17, which is
   also relevant to the issue of Benjamin’s inspection of the ISB file room next week.

   We have been running to ground this issue that you raised:

           With respect to RFPs 87-90 and 110 (ECF 299 at 4-5), you have pointed to a large volume of
            hard-copy documents, which will, as all parties recognize, be cumbersome to
            reproduce. Your recent disclosures regarding the MPD databases, however, raises a
            question: to what extent are ISB case files, or parts of case files, available on the MPD’s
            databases, including IAPro? To the extent all or part of the files are available in electronic
            format, such data would be (a) responsive and (b) much less burdensome to produce.

   You are correct that a large portion of the ISB case files are kept digitally. The parts that are not kept
   digitally are often documents that arrive in hard copy related to criminal investigations, medical
   records, miscellaneous correspondence, etc. Those items are placed in the hard copy file and not
   scanned into the digital ISB file.
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   The other portion of the ISB Case file that is not stored with the digital portion are the media files
   (videos and audio) associated with the investigation. Those are stored in Evidence.com. Production
   of those videos would require copying the digital media to a hard drive or to the cloud, which will
   take hundreds of hours.

   We would like for you to consider this possible path forward. The City would agree to produce the
   digital portions of the ISB files to you on a rolling basis— without the video/audio and anything in
   hard copy from the physical files. This would not be nearly as costly or burdensome on MPD like
   copying the physical file and the accompanying audio/video. You have requested several hundred
   ISB files, and it will take some time to review and produce the digital portions, but we could get this
   out much quicker to you than copying the hard file and all media.

   We believe that a large percentage of the files you requested will be of no interest to you, but you
   won’t know which files are of interest until you see them. Once you have the digital portions of the
   ISB files, you could review and let us know the files for which you would like the videos and other
   media. We could then download the videos that you actually want and transmit them to you like
   the videos we are producing to you tomorrow that are responsive to the targeted requests you
   made in your most recent RFPs. You could also let us know, after you review the digital ISB files, if
   you need us to check the physical file folder for any particular ISB case to see if there is anything to
   be supplemented from the physical file.

   If you are agreeable to this path forward, we will start working on it this week. This would save all of
   us a lot of unnecessary work and expense to produce documents and videos that are not relevant
   to the litigation.

   Please note that in either situation—whether we produce copies of the physical file or if we
   produce the digital portion only— those files will have to be produced as CONFIDENTIAL under the
   protective order. Otherwise, we will have to redact the PII from the files, which will put us back to
   square one on burden and cost.

   If you agree to this proposed solution, we can cancel Benjamin’s inspection next week. If not, then
   we can schedule his visit for Wednesday, February 26 in the morning.

   We are continuing to work through the issues you have raised. I will have another response to you
   tomorrow via email.

   I am hopeful that this will get the ball rolling so that we can get past this issue. Please let us know
   your thoughts.

   Thanks,

   Jennie Vee Silk
   Shareholder

   Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
   2000 First Tennessee Building
   165 Madison Avenue
   Memphis, TN 38103

   Phone 901.577.8212
   Fax    901.577.0812
   JSilk@bakerdonelson.com

   Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents clients across the U.S. and abroad from offices in
   Alabama, Florida, Georgia, Louisiana, Maryland, Mississippi, South Carolina, Tennessee, Texas, Virginia and Washington,
   D.C.




                                                      7
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                                              PageID 4632

         From: Stephen Weil <SWeil@rblaw.net>
         Sent: Tuesday, February 18, 2025 6:19 PM
         To: Silk, Jennie <jsilk@bakerdonelson.com>; McMullen, Bruce
         <bmcmullen@bakerdonelson.com>; McKinney, Kelsey <kmckinney@bakerdonelson.com>;
         Sarah Raisch <sraisch@rblaw.net>; Joshua Levin <JLevin@rblaw.net>; Antonio Romanucci
         <aromanucci@rblaw.net>
         Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>;
         Florence Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse
         <brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan
         <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis
         Mendelson I <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>;
         ge@perrygriffin.com; Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>; John
         Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick <support@smitticklaw.com>;
         lgross@perrygriffin.com; Martin Zummach <martin@sparkman-zummach.com>; Mary Collins
         <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
         <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
         <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson,
         Theresa <tthompson@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>
         Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence

         Counsel,

         We would like to get this Rule 37 call scheduled. We have been asking since last
         week. Please advise.

         Best regards,
         - Steve

         Stephen H. Weil                                       e: sweil@rblaw.net
         Senior Attorney                                       p: (312) 253-8592
                                                               f: (312) 458-1004
                                                               a: 321 N Clark St, Ste
                                                               900, Chicago, IL 60654



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         From: Stephen Weil <SWeil@rblaw.net>
         Sent: Monday, February 17, 2025 4:28 PM
         To: Silk, Jennie <jsilk@bakerdonelson.com>; McMullen, Bruce
                                                           8
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                                              PageID 4633
          <bmcmullen@bakerdonelson.com>; McKinney, Kelsey <kmckinney@bakerdonelson.com>;
          Sarah Raisch <sraisch@rblaw.net>; Joshua Levin <JLevin@rblaw.net>; Antonio Romanucci
          <aromanucci@rblaw.net>
          Cc: Alexis Johnson <AJohnson@rblaw.net>; Betsy McKinney <BMcKinney@gmlblaw.com>;
          Florence Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse
          <brooke@bencrump.com>; cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan
          <keenandl@aol.com>; Darrell J. O'Neal <domemphislaw@darrelloneal.com>; David Louis
          Mendelson I <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>;
          ge@perrygriffin.com; Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>; John
          Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick <support@smitticklaw.com>;
          lgross@perrygriffin.com; Martin Zummach <martin@sparkman-zummach.com>; Mary Collins
          <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com; Robert Spence
          <rspence@spencepartnerslaw.com>; Terri Norman <TNorman@gmlblaw.com>; Reagan, Ian
          <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>; Thompson,
          Theresa <tthompson@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>
          Subject: Re: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence

          Counsel,

          I'm following up on my email below. We believed the attached spreadsheet, from
          your production, is an example (we have been able to identify 11 in total) of
          Evidence.com audit trails that we expect can be linked to the MPD's other
          databases.

          We attach the spreadsheet here for purposes of discussion with you. To that end,
          we have asked for a Rule 37 call this Thursday 2/20, details below. Please advise
          whether the time we have proposed works, or whether you have another time to
          propose.

          Best regards,
              Steve



          Stephen H. Weil                                     e: sweil@rblaw.net
          Senior Attorney                                     p: (312) 253-8592

                                                              f: (312) 458-1004
                                                              a: 321 N Clark St, Ste
                                                              900, Chicago, IL 60654


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                                                PageID 4634
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          From: Stephen Weil
          Sent: Friday, February 14, 2025 10:49 AM
          To: Silk, Jennie <jsilk@bakerdonelson.com>; McMullen, Bruce
          <bmcmullen@bakerdonelson.com>; McKinney, Kelsey <kmckinney@bakerdonelson.com>;
          Sarah Raisch <sraisch@rblaw.net>; Joshua Levin <JLevin@rblaw.net>; Antonio Romanucci
          <aromanucci@rblaw.net>
          Cc: Alexis Johnson <AJohnson@rblaw.net>; McKinney, Kelsey
          <kmckinney@bakerdonelson.com>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence
          Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>;
          cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
          <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>;
          Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com <ge@perrygriffin.com>;
          Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr.
          <jkp@perrygriffin.com>; Laura Elizabeth Smittick <support@smitticklaw.com>;
          lgross@perrygriffin.com <lgross@perrygriffin.com>; Martin Zummach <martin@sparkman-
          zummach.com>; Mary Collins <MCollins@gmlblaw.com>; mistie@sparkman-zummach.com
          <mistie@sparkman-zummach.com>; Robert Spence <rspence@spencepartnerslaw.com>; Terri
          Norman <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>;
          Reagan, Ian <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>;
          Thompson, Theresa <tthompson@bakerdonelson.com>; Reagan, Ian
          <ireagan@bakerdonelson.com>
          Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence


          Jennie,

          I am writing to supplement my email from Wednesday in light of the information you
          provided in your Feb. 11 email relating to the nature of the data Memphis provided
          to the DOJ or provided access to the DOJ.

          Please provide a time to talk next week. I will propose a discussion on Monday,
          Thursday, or Friday next week. To get the ball rolling I will propose Thursday 2/20 at
          9:30 a.m. or 12:00 p.m. If you would prefer some other time please let me know.

          Database information linked to videos.


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                                   PageID 4635
          You indicated in your Feb. 11 email that there are audit trails available in
          Evidence.com that would indicate the videos accessed by the DOJ. We believe this
          may be an efficient way to identify and gather much of the information in the
          databases that the DOJ discussed in its report.

          The bulk of the use of force incidents described in the DOJ Report appear to
          compare what police video shows with the manner in which the incident was
          handled in written documents—use of force reports, supervisory review, ISB review,
          etc. As we understand it, there would be a means of associating each video in
          Evidence.com with the ESI stored in the other police databases that pertains to the
          same incident, such as an incident number. That should significantly narrow the
          documents we will need to review. We would therefore request:

          [1] all videos in Evidence.com that audit trails indicate were downloaded, reviewed,
          or otherwise accessed by DOJ;

          [2] information sufficient to link those videos with information in the other police
          databases that pertains to the same incident as the video, such as incident report
          numbers;

          [3] all ESI in the other police databases linked to each video that DOJ downloaded,
          reviewed, or otherwise accessed, for example: all ESI associated with particular
          incident numbers.

          To be clear, we understand the documents in category [3] to be expansive, running
          from traffic reports, arrest reports, use of force reports (RTRs), civilian complaints,
          supervisory review of reports, ISB reviews, disciplinary hearings, and the like.

          Complaints and related documents.

          Plaintiff has previously requested complaints, and complaints associated with
          certain units and ISB investigations. See RFPs 14, 87. In response the City
          repeatedly stated that it would produce ISB files. The DOJ Report makes plain that
          this is an underinclusive universe, because only about 20% of complaints are
          referred to ISB. See DOJ Report at 60. And the report makes clear that the DOJ
          gathered essentially all complaints (and related information) in the police
          databases. We therefore request information sufficient to identify all complaints
          and related investigation documents in the police databases, whether or not they
          are associated with videos.

          MPD shootings.

          The DOJ report notes that DOJ reviewed every shooting by MPD officers from 1/1/20
          to 12/31/22. DOJ Report at 13. We request that you identify and produce all
          documents relating to each of these shootings, whether written, video, or
          otherwise.

          Use of force + invalid license.
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                                     PageID 4636
          The DOJ report states, “In 196 incidents from 2018 to 2023, officers used force
          against people charged for driving without a valid license.” DOJ Report at 14. We
          request identification and production of all documents related to these
          incidents. Presumably they can be isolated by cross-referencing use of force
          reports with tickets for driving without a license.

          Field / interface review.

          As the forgoing indicates, there is substantial data that is associated with each
          incident, and the associations between different sets of data may not be
          obvious. We understand that the police databases in question are relational SQL
          databases. Any “production” from those databases will need to enable the same
          access to the data as MPD has in the usual course of business. This may require
          production or all or part of the databases as they were provided to the DOJ. We are
          open to discussing means of protecting the interests you identified previously, but
          some substantial access will be necessary to appropriately interface with the data.

          Best regards,

          Steve

          Stephen H. Weil                                       e: sweil@rblaw.net
          Senior Attorney                                       p: (312) 253-8592
                                                                f: (312) 458-1004
                                                                a: 321 N Clark St, Ste
                                                                900, Chicago, IL 60654



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          From: Stephen Weil
          Sent: Wednesday, February 12, 2025 4:42 PM
          To: 'Silk, Jennie' <jsilk@bakerdonelson.com>; McMullen, Bruce
          <bmcmullen@bakerdonelson.com>; McKinney, Kelsey <kmckinney@bakerdonelson.com>;
          Sarah Raisch <sraisch@rblaw.net>; Joshua Levin <JLevin@rblaw.net>; Antonio Romanucci
          <aromanucci@rblaw.net>
          Cc: Alexis Johnson <AJohnson@rblaw.net>; McKinney, Kelsey
          <kmckinney@bakerdonelson.com>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence
          Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>;
          cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
                                                           12
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                                               PageID 4637
          <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>;
          Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett Michael Dean
          Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
          Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach
          <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>;
          mistie@sparkman-zummach.com; Robert Spence <rspence@spencepartnerslaw.com>; Terri
          Norman <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>;
          Reagan, Ian <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>;
          Thompson, Theresa <tthompson@bakerdonelson.com>; Reagan, Ian
          <ireagan@bakerdonelson.com>
          Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence

          Jennie,

          We agree to an extension on the response to next Friday February 21.

          We will send the cellphone ESI protocol in a separate email.

          You have agreed to produce the audit trails for Evidence.com. We presume each
          video on the Evidence.com site is linked to a case file / incident report / etc. in the
          RMS database and possibly some of the other databases you have listed. Along
          with the Evidence.com audit trail we would ask that you provide linking information
          to the other databases.

          Let us know if you can discuss Monday or Tuesday next week. We could discuss
          tomorrow / Friday, but I would want to give you guys some time to check with tech
          folks.

          Best regards,

                    Steve

          Stephen H. Weil                                       e: sweil@rblaw.net
          Senior Attorney                                       p: (312) 253-8592
                                                                f: (312) 458-1004
                                                                a: 321 N Clark St, Ste
                                                                900, Chicago, IL 60654



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                                        PageID 4638

          From: Silk, Jennie <jsilk@bakerdonelson.com>
          Sent: Tuesday, February 11, 2025 9:03 PM
          To: Stephen Weil <SWeil@rblaw.net>; McMullen, Bruce <bmcmullen@bakerdonelson.com>;
          McKinney, Kelsey <kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>;
          Joshua Levin <JLevin@rblaw.net>; Antonio Romanucci <aromanucci@rblaw.net>
          Cc: Alexis Johnson <AJohnson@rblaw.net>; McKinney, Kelsey
          <kmckinney@bakerdonelson.com>; Betsy McKinney <BMcKinney@gmlblaw.com>; Florence
          Johnson <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>;
          cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J. O'Neal
          <domemphislaw@darrelloneal.com>; David Louis Mendelson I <dm@mendelsonfirm.com>;
          Deborah Godwin <DGodwin@gmlblaw.com>; ge@perrygriffin.com; Jarrett Michael Dean
          Spence <jspence@spencepartnerslaw.com>; John Keith Perry Jr. <jkp@perrygriffin.com>; Laura
          Elizabeth Smittick <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach
          <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>;
          mistie@sparkman-zummach.com; Robert Spence <rspence@spencepartnerslaw.com>; Terri
          Norman <TNorman@gmlblaw.com>; McMullen, Bruce <bmcmullen@bakerdonelson.com>;
          Reagan, Ian <ireagan@bakerdonelson.com>; Morris, Angela <amorris@bakerdonelson.com>;
          Thompson, Theresa <tthompson@bakerdonelson.com>; Reagan, Ian
          <ireagan@bakerdonelson.com>
          Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery Correspondence




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          Steve,

          We are not available tomorrow. We are available on Thursday 10a-11a or after 2:15p. On Friday,
          we are only available after 3p. Please provide us with information regarding the subject of this
          conference.

          In addition, as you know, the City’s deadline to respond to Plaintiff’s motion to compel was
          extended through this Friday. Given that our discussions about the discovery requests that are
          the subject of Plaintiff’s motion have been productive, we request that Plaintiff agree to a joint
          motion to stay the motion to compel while we continue to work on resolutions. We would like
          to get this on file tomorrow. Please let us know if you agree, and we will send over a draft for
          your team to review.

          We will await further information from your team regarding proposed ESI protocols for RFP 96
          and cell phones and vendor information for copying ISB files.

          We understand your request for all documents/ESI/video reflected in the audit trails for
          Evidence.com. We suggest you hold that request until after you have reviewed the audit trails,
          which we will produce this week.

          You have also requested audit trails for the other databases we provided to the DOJ. We do not
          have that information because we provided copies of the entirety of each database to the DOJ.
          Once the copies were produced, nothing on our end could track their activity.

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                                         PageID 4639
          Thanks,
          Jennie Vee Silk
          Shareholder

          Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
          2000 First Tennessee Building
          165 Madison Avenue
          Memphis, TN 38103

          Phone 901.577.8212
          Fax    901.577.0812
          JSilk@bakerdonelson.com

          Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents clients across the U.S. and abroad from offices in
          Alabama, Florida, Georgia, Louisiana, Maryland, Mississippi, South Carolina, Tennessee, Texas, Virginia and
          Washington, D.C.




                    From: Stephen Weil <SWeil@rblaw.net>
                    Sent: Thursday, February 6, 2025 6:16 PM
                    To: McMullen, Bruce <bmcmullen@bakerdonelson.com>; McKinney, Kelsey
                    <kmckinney@bakerdonelson.com>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin
                    <JLevin@rblaw.net>; Antonio Romanucci <aromanucci@rblaw.net>
                    Cc: Silk, Jennie <jsilk@bakerdonelson.com>; Alexis Johnson <AJohnson@rblaw.net>;
                    McKinney, Kelsey <kmckinney@bakerdonelson.com>; Betsy McKinney
                    <BMcKinney@gmlblaw.com>; Florence Johnson
                    <fjohnson@johnsonandjohnsonattys.com>; Brooke Cluse <brooke@bencrump.com>;
                    cgrice <cgrice@eflawgroup.com>; Clyde W. Keenan <keenandl@aol.com>; Darrell J.
                    O'Neal <domemphislaw@darrelloneal.com>; David Louis Mendelson I
                    <dm@mendelsonfirm.com>; Deborah Godwin <DGodwin@gmlblaw.com>;
                    ge@perrygriffin.com; Jarrett Michael Dean Spence <jspence@spencepartnerslaw.com>;
                    John Keith Perry Jr. <jkp@perrygriffin.com>; Laura Elizabeth Smittick
                    <support@smitticklaw.com>; lgross@perrygriffin.com; Martin Zummach
                    <martin@sparkman-zummach.com>; Mary Collins <MCollins@gmlblaw.com>;
                    mistie@sparkman-zummach.com; Robert Spence <rspence@spencepartnerslaw.com>;
                    Terri Norman <TNorman@gmlblaw.com>; McMullen, Bruce
                    <bmcmullen@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>;
                    Morris, Angela <amorris@bakerdonelson.com>; Thompson, Theresa
                    <tthompson@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>
                    Subject: Re: Wells v. City of Memphis, et al. - Response re January 28 Discovery
                    Correspondence

                    Bruce,



                    I am responding to your email yesterday in this chain. We ask for a Rule 37
                    conference to follow up next week. Please provide available dates next
                    Wednesday, Thursday, and Friday. To get the ball rolling I will propose
                    Wednesday 2/12 at 9:30 a.m.



                    RFP 73 – understood as to this request.

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                RFP 96 – as we understand the City’s records management system, RTR
                reports will be embedded or linked to other documents, like body camara
                footage. A .csv file is a text file and would not contain such documents. We
                would also seek information documenting reviews of such reports, including
                an audit trail showing that reviews occurred. There are other issues as well,
                such as providing the information in the format in which it is accessed by
                MPD in the normal course of business. For these reasons we anticipate
                requiring a protocol for this information. We should be able to have a more
                productive conversation once the .csv file you’ve described is produced.



                ISB case files. We are arranging for our local counsel to examine the files
                and estimate the quantity. Your email discusses inspection vs. production
                at length, but that really isn’t in dispute. You say that you will not agree to
                share the cost of copying, but you also insist that files cannot be temporarily
                taken off site for copying. Your email does not say why, except for a generic
                assertion that they are “sensitive.” That is true of much of the discovery in
                this case, however. We will engage a vendor; if on-site copying is
                considerably more expensive or time-consuming than off-site copying, we
                may need to revisit this matter.



                Cellphones. We expect to provide a protocol by the end of this week.



                Databases. Thank you for the identification of the databases. You have a
                lengthy discussion of overbreadth, but I am hoping we can set that aside for
                the moment. We have reviewed background information regarding the RMS
                database and our understanding is that such databases (like the
                Evidence.com database) have robust audit logs and audit trails, meaning
                that if a user is provided access, there will be an audit trail / log recording
                every document that user accessed, the time of access, etc.



                Indeed we believe that is likely for all the databases you identified, which we
                believe correspond to the “Table Identifying Storage” document you
                produced to the DOJ and which we have attached to this email.



                Such audit trails should permit us to identify precisely what queries were
                made by the DOJ and what documents the DOJ accessed. With that

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                information we should be able to narrow our query to the precise
                documents and ESI that the DOJ accessed.



                We ask therefore that you please (1) confirm that the databases listed in
                the attached table contain audit trails, (2) confirm that audit trails are
                available for the information accessed by the DOJ; and (3) produce all
                such audit trails. Essentially: you have agreed to produce audit trails for
                the DOJ personnel activity on Evidence.com. We are asking for production of
                audit trails for DOJ personnel activity on the other databases as well.



                With respect to Evidence.com, we would ask that you please produce to us,
                or make available, all documents / ESI / video that the audit trails reflect
                were accessed or downloaded by DOJ personnel.



                Touhy letter. Please find attached the DOJ’s Touhy response letter. We will
                also produce a Bates-stamped copy.


                Best regards,
                - Steve


                Stephen H. Weil                                   e: sweil@rblaw.net
                Senior Attorney                                   p: (312) 253-8592

                                                                  f: (312) 458-1004
                                                                  a: 321 N Clark St, Ste
                                                                  900, Chicago, IL 60654


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                From: McMullen, Bruce <bmcmullen@bakerdonelson.com>
                Sent: Wednesday, February 5, 2025 5:24 PM
                To: McKinney, Kelsey <kmckinney@bakerdonelson.com>; Stephen Weil
                <SWeil@rblaw.net>; Sarah Raisch <sraisch@rblaw.net>; Joshua Levin
                <JLevin@rblaw.net>
                Cc: Silk, Jennie <jsilk@bakerdonelson.com>; Reagan, Ian
                <ireagan@bakerdonelson.com>
                Subject: RE: Wells v. City of Memphis, et al. - Response re January 28 Discovery
                Correspondence




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                Steve,

                We write in response to both of your emails sent on January 28.

                RFP 73

                We understand that the data should be available to counsel for the City
                tomorrow, and it will be produced to the parties shortly thereafter.

                RFP 96

                We are offering to produce all of the data for the Response to Resistance
                reports requested via a .csv file, which would necessarily include data fields.
                This production is on track to be available on the timeline we originally
                estimated.

                ISB case files

                The City’s obligations under Rule 34 are merely to produce the materials as
                they are kept in the ordinary course of business. Rule 34 provides several
                options for production, including inspection and copies. Steven S. Gensler, 1
                Federal Rules of Civil Procedure, Rules and Commentary Rule 34 (West) (“A
                party has three options for responding to document requests. The party may
                (1) state that it will permit inspection and related activities; (2) state that it
                                                      18
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                will produce copies of the requested materials; or (3) object to the
                requests.”). Rule 34 does not require a party to provide copies of the
                documents requested; inspection is sufficient, especially in situations where
                the documents are maintained in hard copy in the ordinary course of
                business. See, e.g., Trevino v. Gates, 99 F.3d 911, 921 (9th Cir. 1996), holding
                modified by Navarro v. Block, 250 F.3d 729 (9th Cir. 2001) (“[A] party who
                produces documents for inspection is not required to make copies for the
                other party.” (citing 8A Charles A. Wright et al., Fed. Prac. & Proc. § 2213
                (1994)); Gross v. Lunduski, 304 F.R.D. 136, 152 (W.D.N.Y. 2014) (“[I]t, it is
                well-established that in responding to a Rule 34(a) request, the party may
                make the relevant files available for the requesting party’s inspection,
                instead of reviewing the files itself and producing copies of relevant
                documents.”); De Varona v. Disc. Auto Parts, LLC, 285 F.R.D. 671, 673 (S.D.
                Fla. 2012) (“[Rule 34] places no obligation on the producing party to copy the
                documents for the requester.”)

                Further, while the responding party generally bears the expenses associated
                with gathering and reviewing the documents, it is the requesting party who is
                generally responsible for the expenses associated with copying. See Tierno
                v. Rite Aid Corp., No. C 05-02520 TEH, 2008 WL 3876131, at *1 (N.D. Cal.
                Aug. 19, 2008). In Gaines-Hanna v. Farmington Public School District, the
                plaintiff requested “all police reports and correspondence regarding her
                family,” and the defendant responded that the documents requested were
                “available for inspection at the office of defendants’ counsel, and may be
                copied at [plaintiff’s] expense.” Gaines-Hanna, No. 04-CV-74910-DT, 2006
                WL 891434, at *1 (E.D. Mich. Mar. 31, 2006). The court rejected plaintiff’s
                contention that the defendants’ response was improper, explaining “Rule 34
                requires only that the documents sought be made available for inspection
                and copying. Thus, defendants’ providing for inspection of the documents at
                counsel's office and requiring plaintiff to bear the cost of copying any
                documents she seeks is appropriate.” Id.; see also Delozier v. First Nat’l
                Bank of Gatlinburg, 109 F.R.D. 161, 164 (E.D. Tenn. 1986) (recognizing that
                Rule 34 permits a party to produce documents for inspection and ordering
                the plaintiff to bear the costs of copying should the plaintiff desire).

                We have offered to make all ISB files responsive to your various discovery
                requests available for inspection by your team. The City has produced over
                175,000 pages of responsive documents, and the City is continuing to gather
                and produce responsive documents on a rolling basis. In addition, the City
                will be producing what is likely to be hundreds of hours of video footage in
                short order.

                Request No. 90 alone seeks approximately 500-600 separate ISB case files.
                We are skeptical whether most of those files will bear any relevance to your
                claims in this case. It is probable that upon inspection, you will likely be able
                to narrow down the number of files you want copied. It is even possible that
                you will be able to narrow down the number of files to a number that would
                moot the present dispute. Recall that when Plaintiff has specifically

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                identified particular incidents or case numbers in smaller batches, the
                burden of production was significantly lowered, and the City was able to
                produce the documents.

                In light of the above, we object to bearing any of the costs associated with
                making copies of these files (digital or otherwise), and we object to a vendor
                that requires the files be taken offsite for copying/scanning because of the
                highly sensitive nature of the files. Accordingly, if Plaintiff agrees to bear the
                cost of copying and to find a vendor that has the equipment to copy onsite,
                we can agree under those conditions. We reiterate that these costs may not
                end up being necessary because, upon inspection, we believe you will be
                able to significantly narrow the files of which you want copies.

                Cell phones

                We will await further information from you regarding a proposed ESI
                protocol.

                Databases

                The City provided the DOJ with the following:

                       A copy of MPD’s Inform RMS Database

                       A copy of MPD’s IAPro/Blue Team database

                       A copy of MPD’s Computer-Aided Dispatch System

                       A copy of MPD’s STATs program database

                       Access to MPD’s instance of Evidence.com

                We maintain our objections to producing the above information in full to
                Plaintiff. This request is clearly a fishing expedition that is not reasonably
                calculated to lead to the discovery of relevant evidence. It is highly
                disproportional to the needs of the case, especially in light of the fact that
                the City has already produced over 175,000 pages of responsive documents,
                with more forthcoming on a rolling basis. Further, any information you may
                glean from the databases would be of limited value given that any relevant
                information has likely already been addressed by one of Plaintiff’s other 193
                Requests for Production.

                Moreover, your assertion that Plaintiff—a private, civil litigant—is entitled to
                the same scope of information as the DOJ because “the scope of Section
                12601(a) is essentially the same as any Monell claim” is frankly absurd.
                Plaintiff is entitled to discovery of relevant information, and Plaintiff is
                authorized to achieve that discovery through requests for information and
                documents that are narrowly tailored and reasonably calculated to lead to
                relevant evidence. The DOJ’s investigation was not subject to the Federal
                Rules of Civil Procedure, but Plaintiff is. The City has been unable to identify
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                any authority limiting the scope of an investigation brought under § 12601.
                The City voluntarily gave the DOJ unfettered access for purposes of its
                investigation. To claim that discovery in civil litigation is a proper vehicle for
                the same level of unfettered access is disingenuous. There are federal rules
                governing civil litigation for a reason.

                Further, the fact that Congress, on separate occasions and for separate
                purposes, enacted two statutes providing a right of action for Constitutional
                violations—one statute for individual litigants (42 U.S.C. § 1983) and one for
                the Attorney General (34 U.S.C. § 12601)—further supports that the methods
                for achieving the remedies under each statute are different. See City of
                Seattle, Seattle Police Dep’t v. Seattle Police Officers’ Guild, 484 P.3d 485,
                496 (2021) (“Congress has taken affirmative steps to ensure the right [to be
                free from excessive force] can be vindicated. For example, 42 U.S.C. § 1983,
                which provides a right of action to individuals whose constitutional rights
                were violated, was enacted to create a broad remedy for violations of
                federally protected civil rights. And Congress, through 34 U.S.C. § 12601
                (formerly codified at 42 U.S.C. § 14141), provided a remedy for violations of
                federal civil rights, specifically for violations that are systematically
                perpetrated by local police departments.” (citations omitted and cleaned
                up)); see also Reardon v. Schossow, 416 F. Supp. 3d 793, 808 (E.D. Wis.
                2019) (“By the plain language of the statute, there is no private right of action
                under 34 U.S.C. § 12601 . . . .”).

                While we stand on the above objections, the City will agree to produce the
                audit trails of the DOJ personnel activity on Evidence.com.

                DOJ response to Touhy request

                On our January 22 call, we requested that you provide a copy of the letter you
                received in response to your Touhy request to the DOJ. We renew this
                request.



                Bruce A. McMullen

                Shareholder
                Direct Dial: 901.577.2356


                        From: McKinney, Kelsey <kmckinney@bakerdonelson.com>
                        Sent: Friday, January 31, 2025 5:04 PM
                        To: sweil@rblaw.net; sraisch@rblaw.net; JLevin@rblaw.net
                        Cc: McMullen, Bruce <bmcmullen@bakerdonelson.com>; Silk, Jennie
                        <jsilk@bakerdonelson.com>; Reagan, Ian <ireagan@bakerdonelson.com>
                        Subject: Wells v. City of Memphis, et al. - Response re January 28 Discovery
                        Correspondence

                        Steve,

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                       We are in receipt of your emails sent on 1/28, both of which request responses
                       by today. Bruce and Jennie have been traveling and in depositions and hearings
                       all week with additional travel and hearings early next week. We will need until
                       Wednesday to provide substantive responses.

                       On another note, we wanted to provide an update on the document
                       productions related to Plaintiff's 6th and 7th RFPs to the City. A document
                       production will go out tonight, and we anticipate another production next week.
                       Next week's production will include a large volume of body camera footage,
                       which is taking a long time to process and get ready for production. At this time,
                       we are not able to estimate what day that production will be ready, but we
                       hope to get it out earlier rather than later.

                       Have a nice weekend.

                       Kindly,
                       Kelsey



                       ___
                       Kelsey W. McKinney (she/her/hers)
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                       Baker, Donelson, Bearman, Caldwell & Berkowitz, PC represents clients across the U.S. and abroad
                       from offices in Alabama,
                       Florida, Georgia, Louisiana, Maryland, Mississippi, North Carolina, South Carolina, Tennessee,
                       Texas, Virginia, and Washington, D.C.


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                copying, reading or disseminating it, and notify the sender by reply e-mail, so
                that our address record can be corrected. Thank you very much.




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